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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  CHAD JOHNSON,

                                            Plaintiff,
                                                                  11-CV-2481(LDH)(SIL)
                         -against-


  SUFFOLK COUNTY, SCPD HEADQUARTERS,
  SEAN COMISKEY, MICHAEL SOTO AND SEAN P.
  MCQUAID,
                                Defendants.




           SUFFOLK COUNTY DEFENDANTS’ MEMORANDUM OF LAW
               IN SUPPORT OF MOTION PURSUANT TO RULE 56




 DATED:      Hauppauge, New York
             December 23, 2019
                                        Respectfully submitted,

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                                 PRELIMINARY STATEMENT

        Suffolk County Detectives Sean Comiskey (“Defendant Comiskey”), Michael Soto,

 (“Defendant Soto”) and Sean P. McQuaid (“Defendant McQuaid”), defendants in this civil rights

 action pursuant to 42 U.S.C. §1983, submit this memorandum of law in support of their motion

 pursuant to Fed. R. Civ. P. Rule 56 for summary judgment dismissing the Amended Complaint

 of pro se plaintiff Chad Johnson (“Plaintiff”). Plaintiff filed his Amended Complaint in this

 matter on September 13, 2011 alleging that the officers involved in his arrest for Murder in the

 Second Degree violated his Constitutional rights by using excessive force against him.

 Specifically, Plaintiff alleges the arresting officers denied his requests for counsel and subjected

 him to physical abuse that resulted in cuts and bruises to his face, shoulder and neck. He alleges

 that statements he provided to the police were a result of this alleged excessive force.

        On May 24, 2010, Plaintiff was arrested by the Suffolk County Police for Murder in the

 Second Degree, Patronizing a Prostitute in the Third Degree, Possession of Marijuana and

 Aggravated Unlicensed Operation of a Motor Vehicle. (See Suffolk County Defendants’ Statement

 Pursuant to Local Rule 56.1 (“Defendants’ 56.1 Statement”), ¶2; Exhibit B, Arrest Report, May 24,

 2010 Chad Johnson.) The victim of this murder, Jennifer Papain, was reported missing by her father

 on March 26, 2010 and her remains were recovered from a wooded area approximately two months

 later on May 24, 2010 after Plaintiff provided the location of them to the police. (See Defendants’

 56.1 Statement, ¶3; Exhibit C, SCPD Incident Report, Murder of Jennifer Papain.) A Supplementary

 Report was filed by the Suffolk County Police Detective Philip Frendo detailing the arresting

 officers’ efforts in recovering the victim’s body, including the assistance of Plaintiff in leading the

 detectives to the wooded area situated north of the Long Island Expressway Drive North, east of

 Bellport Avenue, in Medford where he buried her. (See Defendants’ 56.1 Statement, ¶9; Exhibit H,


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 Supplementary Report, 7/13/10.) Photographs of Plaintiff were taken on May 24, 2010 to document

 his presence at the victim’s burial location and depict him pointing out to the arresting officers where

 he buried her body. (See Defendants’ 56.1 Statement, ¶10; Exhibit I, Four (4) photos of Plaintiff

 pointing to the location of the victim.)

        Following his arrest, Plaintiff was properly advised of his rights. A Rules of Interrogation

 card that advised Plaintiff of his rights was signed and initialed at 2:25 p.m. on May 24, 2010. (See

 Defendants’ 56.1 Statement, ¶7; Exhibit F, Rules of Interrogation card of Chad Johnson.) Later that

 day at 9:55 pm, following the recovery of the victim’s body, Plaintiff was again advised of his rights

 when he initialed and signed an acknowledgment and waiver of his rights and provided the arresting

 officers with a ten-page statement in which he detailed his involvement in the murder of the victim.

 Plaintiff acknowledged that he spoke with Defendants Soto and Comiskey earlier and agreed to

 show them where he buried the victim’s body. (See Defendants’ 56.1 Statement, ¶3; Exhibit E,

 Advice of Rights statement of Chad Johnson, 5/24/10.) Plaintiff was given the opportunity to make

 a video statement in addition to this written statement, but declined to do so. (See Defendants’ 56.1

 Statement, ¶3; Exhibit G, Video Statement Form signed by Chad Johnson.) The following morning,

 Plaintiff was transported to First District Court for arraignment. (See Defendants’ 56.1 Statement,

 ¶4; Exhibit D, Chad Johnson Prisoner Activity Log).

        Plaintiff filed his Amended Complaint in this matter on September 13, 2011 alleging that

 officers involved in his arrest for Murder in the Second Degree violated his Constitutional rights by

 using excessive force against him. He alleges the arresting officers denied his requests for counsel

 and subjected him to physical abuse that resulted in cuts and bruises to his face, shoulder and neck.

 (See Defendants’ 56.1 Statement, ¶1; Exhibit A, Complaint, ¶ IV.)




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        Plaintiff has alleged being beaten multiple times by the arresting officers during his

 interrogation. Over a period of several hours, he claimed to have been repeatedly punched in the

 face, neck, head, chest and stomach. He alleges to have been repeatedly kicked while lying on the

 floor following being struck in the head or face. This testimony is not supported in any manner by

 photographs taken of him both during his processing and the next day prior to his arraignment in

 First District Court. (See Defendants’ 56.1 Statement, ¶15; Exhibit N, deposition transcript of Chad

 Johnson dated 11/30/16, pgs. 105-174.)

        Plaintiff’s Prisoner Activity Log details his condition and activity from the time of his arrest

 at 2:05 p.m. on May 24, 2010 through his transport to Suffolk County First District Court for

 arraignment at 7:45 a.m. the following morning. (See Defendants’ 56.1 Statement, ¶4; Exhibit D,

 Chad Johnson Prisoner Activity Log). This log notes that Plaintiff did not complain of any injuries

 and details that photographs were taken of him at 1:36 a.m. the following morning on May 25, 2010

 following his earlier transport to 495 Express Drive North w/o Bellport Ave, Medford (at 7:56 p.m.

 on May 24, 2010) where Plaintiff showed the detectives where he buried Papain. (See Defendants’

 56.1 Statement, ¶5; See Exhibit D, Chad Johnson Prisoner Activity Log 5/24/10 to 5/25/10).

 Specifically, sixteen (16) Wellness photographs were taken of Plaintiff after his arrest that clearly

 show his face and entire upper and lower body and he does not appear to have any marks or injuries

 consistent with the allegations made in his Amended Complaint. (See Defendants’ 56.1 Statement,

 ¶11; Exhibit J, Sixteen (16) Wellness photographs of Plaintiff.)

        Plaintiff’s booking photo mugshot was taken by the Suffolk County Sheriff’s Office on May

 25, 2010. Plaintiff again does not appear to have any marks or bruises consistent with his allegations

 in the complaint. (See Defendants’ 56.1 Statement, ¶12; Exhibit K, Photo of plaintiff taken on

 5/25/10.)


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        Two (2) photographs were enlarged of Plaintiff’s face and forehead area and do not reveal

 cuts or bruises consistent with the allegations in this matter. (See Defendants’ 56.1 Statement, ¶13;

 Exhibit L, Two (2) enlarged photographs of Plaintiff’s face and forehead.)

        During the pendency of the criminal case in Suffolk County Court, a combined hearing

 was held to determine whether Plaintiff’s arrest and statements transgressed upon either his state

 or federal constitutional rights in any manner. On March 23, 2011, the Court specifically held:

           The People have sustained their burden to produce evidence that the police
           encounters with the Defendant were permitted by law and that his arrest on
           May 24, 2010 was authorized. People v. Berrios, 28 N.Y.2d 361 The
           Defendant has failed to sustain his burden of proof by a preponderance of
           the evidence that the police encounters with the Defendant and, ultimately
           his arrest, transgressed upon either the Defendant's state or federal
           constitutional rights in any manner. Accordingly the Defendant's motion to
           suppress evidence as the product of an unconstitutional police encounter,
           search or seizure, is in all respects denied. [] Here, the People have
           sustained their burden of proof beyond a reasonable doubt that the
           statements made by the defendant to the police in each instance were both
           voluntary and truthful. People v. Renis, 94 A.D.2d 728. The People have
           also satisfied their burden of producing evidence that all the statements
           made by the Defendant prior to his May 24, 2010 arrest were non-custodial,
           and that the Defendant was only in custody on May 24, 2010 after he had
           gotten out of the car he was driving. The People have also adduced
           evidence that the Defendant was read his Miranda rights and warnings, and
           that he knowingly, intelligently and voluntarily waived his right to counsel
           and right to remain silent before any custodial statements were made by the
           Defendant.


 (See Defendants’ 56.1 Statement, ¶14; Exhibit M, County Court, County of Suffolk, Decision

 and Order of the Hon. Gary J. Weber dated March 23, 2011.)
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        Following the aforementioned hearing, Plaintiff was convicted after trial of Murder in the

 Second Degree, Patronizing a Prostitute in the Third Degree and Aggravated Unlicensed

 Operation of a Motor Vehicle in the Second Degree. This judgment and conviction was affirmed

 and upheld by the New York State Appellate Division, Second Department, on December 24,

 2014 [See DE 50]. Plaintiff has since exhausted his state court appeal as his Application for

 Leave to Appeal to the New York State Court of Appeals was denied on March 26, 2015. [See

 DE 53 and 53-1.]

        As Defendants set forth below, Plaintiff cannot sustain his alleged claims and summary

 judgment is appropriate. Factually, Plaintiff has no proof that he was subjected to excessive

 force or denied the right to counsel. His allegations against Defendant are baseless and the

 record blatantly contradicts his version of events. The evidence set forth above is uncontroverted

 and indicates exactly the opposite of what he alleges. Given that a determination was made in

 the underlying criminal case as to these very issues, a verdict in Plaintiff’s favor in a civil case

 would undermine the validity of Plaintiff’s criminal conviction. Pursuant to Heck v. Humphrey,

 512 U.S. 477 (1994), Plaintiff’s claims cannot be maintained while his conviction remains

 extant. Additionally, his claims are barred by collateral estoppel as these very issues upon which

 his Amended Complaint is predicated were already litigated in the underlying criminal

 proceeding as set forth above.

        Should the Court interpret the Amended Complaint as including both §1983 and state law

 claims against Defendants, but dismiss only the federal claims, only the pendent claims will

 remain. However, Plaintiff did not file a Notice of Claim prior to bringing this case and as such,

 cannot proceed on any pendent claims. Should the Court grant summary judgment to




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Defendants and dismiss the federal claims, but not wish to adjudicate the sufficiency of any

pendent claims, Defendants respectfully submit that it should decline jurisdiction over them.

                                    STANDARD OF REVIEW

       It is well settled that summary judgment is proper only if “the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if any, show that

there is no genuine issue as to any material fact and that the moving party is entitled to judgment

as a matter of law”. Fed. R. Civ. P. 56 (c); See also Celotex Corp. v. Catrett, 477 U.S. 317, 322,

106 S.Ct. 2548, 2551, 91 L.Ed 2d 28 265 (1986).

       The trial court’s task at the summary judgment stage of the litigation is limited to

discerning whether there are genuine issues of material fact to be tried, not deciding them. Its

duty, in short, is confined at this point to issue-finding. It does not extend to issue resolution.

Gallo v. Prudential Residential Services, Ltd. Partnership, 22 F.3d 1219, 1224 (2d Cir. 1994).

Only disputes over facts that might affect the outcome of the suit under the governing law will

properly preclude the entry of summary judgment. Anderson v. Liberty Lobby, Inc., 477 U.S.

242 (1986).

       The moving party bears the initial burden of informing the district court of the basis for

its motion and identifying the matter that it believes demonstrates the absence of a genuine issue

of material fact. Celotex, 477 U.S. at 323, 106 S. Ct. at 2552. Once the moving party had met

this burden, the non-moving party must come forward with “specific facts showing there is a

genuine issue for trial. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio, Corp., 475 U.S. 574,

587, 106 S.Ct. 1348, 1356, 89 L.Ed.2d 538 (1986) (quoting Fed. R. Civ. P. 56(e). The non-

movant must surpass an evidentiary threshold:

               …the non-moving party cannot survive summary judgment by
               casting mere “metaphysical doubt” upon the evidence produced by

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               the moving party. Matsushita, 475 U.S. at 586. Summary
               judgment is appropriate where the moving party can show that
               “little or no evidence may be found in support” of the non-moving
               party’s case. Gallo v. Prudential Residential Services, 22 F.3d
               1219, 1223-24 (2d Cir. 1994).

Corbett v. Firstline Security Inc., 687 F.Supp.2d 124 (E.D.N.Y. Dec. 9, 2009).



       Stated alternatively, to survive a motion for summary judgment, the non-movant must do

more than present evidence that is merely colorable, conclusory or speculative. Anderson, 477

U.S. at 249-50. The non-movant must offer evidence that demonstrates the existence of a

genuine issue of material fact that must be decided by a jury. Id. The non-moving party must

produce evidence in the record “and may not rely simply on conclusory statements or on

contentions that the affidavits supporting the motion are not credible.” Ying Jing Gan v. City of

New York, 996 F.2d 522, 532 (2d Cir. 1993).

       As now explained, Plaintiff cannot point to any evidence of substance to support his

claims. He therefore identifies no material issue of fact which a jury should consider. As such,

summary judgment to Defendants is warranted.


                                            POINT I

    PLAINTIFF’S EXCESSIVE FORCE CLAIM SHOULD BE DISMISSED AS THE
       RECORD BLATANTLY CONTRADICTS HIS VERSION OF EVENTS

       As the United States Supreme Court held in Scott v. Harris, 550 U.S. 372, 380 (2007),

“[w]hen opposing parties tell two different stories, one of which is blatantly contradicted by the

record, so that no reasonable jury could believe it, a court should not adopt that version of the

facts for purposes of ruling on a motion for summary judgment.” In Scott v. Harris, the plaintiff,

Timothy Scott, was a motorist who brought a §1983 action against a county deputy and others

alleging, inter alia, use of excessive force in violation of his Fourth Amendment rights during a

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high-speed chase. The record in the case included a videotape that captured the events in

question. There were no allegations or indications that the videotape had been altered or any

contention that what it depicted differed from what actually transpired. As stated by the Court,

the videotape “quite clearly” contradicted the version of the story told by Scott. Scott v. Harris,

550 U.S. at 378.     As such, the Court found that Scott’s “version of events” was “so utterly

discredited by the record that no reasonable jury could have believed him” and therefore, the

lower court “should not have relied on such visible fiction; it should have viewed the facts in the

light depicted by the videotape.”      Scott v. Harris, 550 U.S. at 380-381.         Based on that

determination, the Court found it was “quite clear that Deputy Scott did not violate the Fourth

Amendment.” Scott v. Harris, 550 U.S. at 381.

       Defendants contend that the standard in Scott v. Harris is applicable to this case.

Plaintiff’s version of events drastically differs from that of Defendants and is blatantly

contradicted by the record. No reasonable jury could believe it and as such, Defendants

respectfully submit that the Court should not adopt that version of the facts for purposes of ruling

on this motion for summary judgment. As described above, all of the photographic evidence in

the record depicting Plaintiff during and after his encounters with Defendants, as well as his

Prisoner Activity Log and the other documentary evidence provided, do not support his

arguments of excessive force and the injuries he alleges he sustained in any way. As such, his

excessive force claim should be dismissed.




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                                            POINT II

                   PLAINTIFF’S CLAIMS CANNOT BE MAINTAINED
                     WHILE HIS CONVICTION REMAINS EXTANT

       Plaintiff’s § 1983 claims must be dismissed because they are barred by the United States

Supreme Court’s holding in Heck v. Humphrey, 512 U.S. 477, 486–487 (1994). When a verdict

in a plaintiff’s favor in a civil case would undermine the integrity of his criminal conviction, a

plaintiff may not proceed with such an action until he succeeds in setting the conviction aside. In

Heck, the Supreme Court explained this principle as follows:

               We hold that, in order to recover damages for allegedly
               unconstitutional conviction or imprisonment, or for other harm
               caused by actions whose unlawfulness would render a conviction
               or sentence invalid, a § 1983 plaintiff must prove that the
               conviction or sentence has been reversed on direct appeal,
               expunged by executive order, declared invalid by a state tribunal
               authorized to make such determination, or called into question by a
               federal court's issuance of a writ of habeas corpus, 28 U.S.C. §
               2254. A claim for damages bearing that relationship to a
               conviction or sentence that has not been so invalidated is not
               cognizable under § 1983.

Heck, 512 U.S. 477.

       Plaintiff’s claim arises out of conduct related to his criminal prosecution, more

specifically, what he alleges was an unlawful arrest and interrogation that resulted in his

indictment on the charges of which he was ultimately convicted. Clearly a determination by a

jury in a § 1983 action that the method of obtaining that evidence violated his constitution rights

would implicate the validity of his underlying conviction. See, Channer v. Mitchell, 43 F.3d

786, 787-88 (2d Cir. 1994)(per curiam) (affirming Heck-based dismissal of claim that police

officers committed perjury and coerced witnesses to identify plaintiff wrongly). Since the claims

asserted by Plaintiff in the Amended Complaint would implicate the validity of his conviction

and he has failed to demonstrate that the conviction or sentence has been reversed or set aside, he

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has no cognizable claim under § 1983. Accordingly, Plaintiff failed to demonstrate that he had

been deprived of any constitutional rights in his underlying criminal matter and the Amended

Complaint must be dismissed.

                                              POINT III

                        PLAINTIFF’S CLAIMS ARE BARRED BY
                      THE DOCTRINE OF COLLATERAL ESTOPPEL

        Plaintiff’s Amended Complaint should be dismissed based upon the doctrine of collateral

estoppel. Collateral estoppel prevents a party from relitigating issues in a subsequent litigation

that were, or could have been, brought in a prior action. A federal court must give a state court

judgment the same preclusive effect that it would have in the courts of that state. Green v.

Montgomery, 219 F.3d 52, 55 (2d Cir. 2000).

        Under New York law, collateral estoppel, or issue preclusion, applies “if (1) the issue in

question was actually and necessarily decided in a prior proceeding, and (2) the party against

whom the doctrine is asserted had a full and fair opportunity to litigate the issue in the first

proceeding.” Colon v. Coughlin, 58 F.3d 865, 869 (2d Cir. 1995). See Sullivan v. Gagnier, 225

F.3d 161, 166 (2d Cir. 2000); Kaufman v. Eli Lilly & Co., 65 N.Y.2d 449, 455 (1985). Collateral

estoppel applies to §1983 claims. Allen v. McCurry, 449 U.S. 90 (1980); Borum v. Village of

Hemstead, 590 F. Supp. 2d 376, 380-81 (E.D.N.Y. 2008).

        In this case, as delineated above, the issue in question—whether Plaintiff’s state or

federal constitutional rights were in any way violated during the course of his interactions with

the police on May 24, 2010—was fully litigated in the underlying criminal case in Suffolk

County Court. Plaintiff had a full and fair opportunity to litigate the issue in the underlying

criminal case both at the aforementioned hearings in front of Judge Weber and at the trial. In

litigating this issue, as stated, the Court found at the hearings that Plaintiff had failed to sustain

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his burden of proof by a preponderance of the evidence that the police encounters with him on

May 24, 2010 and his arrest transgressed on his state or federal constitutional rights in any way.

The Court further found that the District Attorney’s Office had sustained their burden of proof

beyond a reasonable doubt that the statements made by Plaintiff were voluntary and truthful and

in no way violated his constitutional rights. The Court found that Plaintiff was read his Miranda

rights and warnings and that he knowingly, intelligently and voluntarily waived his right to

counsel and his right to remain silent prior to making any custodial statements. (See Defendants’

56.1 Statement, ¶14; Exhibit M, County Court, County of Suffolk, Decision and Order of the

Hon. Gary J. Weber dated March 23, 2011.)

       Based upon the foregoing, Plaintiff’s claims are barred by the doctrine of collateral

estoppel and his Amended Complaint must be dismissed.

                                            POINT IV

             PLAINTIFF CANNOT PROCEED ON ANY PENDENT CLAIMS
                 BECAUSE HE DID NOT FILE A NOTICE OF CLAIM

       Should the Court interpret the Amended Complaint as including both §1983 and state law

claims against Defendants, but dismiss only the federal claims, only the pendent claims will

remain. However, Plaintiff did not file a Notice of Claim prior to bringing this case and as such,

cannot proceed on any pendent claims.

       The notice of claim requirements of the N.Y. Gen. Mun. Law § 50-e et seq. apply to state

law claims brought in the federal courts to the same degree and in the same manner they apply to

claims brought in state court. Chapman v. City of New York, No. 06-CV-3153-ENV-JMA, 2011

WL 1240001, at *13 (E.D.N.Y. Mar. 30, 2011)(“State notice of claim requirements ... are

substantive law that must be applied by federal courts in deciding pendent state and local law

claims.”); Dingle v. City of New York, 728 F. Supp. 2d 332, 348–349 (S.D.N.Y. 2010)(“Federal

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courts do not have jurisdiction to hear state law claims brought by plaintiffs who have failed to

comply with the notice of claim requirement, nor can a federal court grant a plaintiff permission

to file a late notice of claim.”); Brennan v. Albany Cty., No. 00-CV-01985, 2005 WL 2437026, at

*6 (N.D.N.Y. Sept. 30, 2005) citing Jones v. Stancik, No. 02 CV 4541` SJ, 2004 WL 2287779

(E.D.N.Y. Oct. 4, 2004)(“Where state law specifies a particular notice of claim procedure,

federal courts are not free to substitute another procedure.”)

       The notice of claim is the central and absolute condition precedent to suit established by

the N.Y. General Municipal Law. N.Y. Gen. Mun. Law § 50-e(a) provides:

         (a) In any case founded upon tort where a notice of claim is required
             by law as a condition precedent to the commencement of an action
             or special proceeding against a public corporation, as defined in the
             general construction law, or any officer, appointee or employee thereof,
             the notice of claim shall comply with and be served in accordance with
             the provisions of this section within ninety days after the claim arises…

N.Y. Gen. Mun. Law § 50-e(a).

         As Plainiff did not file a Notice of Claimprior to commencing this action, any pendent

claim must be dismissed. Davidson v. Bronx Mun. Hosp., 64 N.Y.2d 59, 473 N.E.2d 761 (1984).

                                             POINT V

                    ALTERNATELY, THE COURT SHOULD DECLINE
                     JURISDICTION OVER ANY PENDENT CLAIMS

               Should the Court grant summary judgment to Defendants and dismiss the federal

claims, but not wish to adjudicate the sufficiency of any pendent claims, it should decline

jurisdiction over them. Norton v. Town of Islip, 678 F. App'x 17, 22 (2d Cir. 2017) citing

Valencia ex rel. Franco v. Lee, 316 F.3d 299, 305 (2d Cir. 2003) (2d Cir. 2005 (quoting

Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 n.7, 108 S. Ct. 614, 98 L. Ed. 2d 720

(1988))(“[I]n the absence of any surviving federal claims, [the Second Circuit has] observed


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that “the balance of factors to be considered under the pendent jurisdiction doctrine—judicial

economy, convenience, fairness, and comity—will point toward declining to exercise jurisdiction

over the remaining state-law”).

                                        CONCLUSION

         For the reasons set forth above, the Court should grant Defendants’ motion for summary

judgment pursuant to Rule 56 dismissing the Amended Complaint.


Dated:    Hauppauge, New York
          December 23, 2019

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